                                                                                            DISTRICT OF OREGON
                                                                                                FILED
                                                                                                July 18, 2019
                                                                                        Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                                               _____________________________
                                                                                      TRISH M. BROWN
                                                                                    U.S. Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

In re                                                        Case No. 19-30223-tmb11

Western Communications, Inc.,                                ORDER AUTHORIZING SALE OF
                                                             REAL PROPERY FREE AND CLEAR
                              Debtor.                        OF LIENS, CLAIMS,
                                                             ENCUMBRANCES, AND OTHER
                                                             INTERESTS (SHELBY BISHOP)
               THIS MATTER came before the Court on Debtor's Motion for Authority to Sell

Property Free and Clear of Liens (the "Motion") [ECF No. 170]. Timely and adequate notice of

the Motion was given and the Court is fully advised in the premises. Now, therefore,

               IT IS HEREBY ORDERED that:

               1.      The Motion is granted.

               2.      Debtor is authorized to sell to Shelby Bishop and/or assigns the real

property located at 226 NW 6th St., Redmond, OR 97756 pursuant to the Motion.

               3.      The sale shall be free and clear of all liens, claims, encumbrances, and

interests, with any and all such liens, claims, encumbrances, and interests attaching to the sale

proceeds.

               4.      The sale proceeds will be distributed as follows:
Page 1 of 2 - ORDER AUTHORIZING SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,
               CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS (SHELBY BISHOP)
                                               Tonkon Torp LLP
                                           888 SW Fifth Ave., Suite 1600
                                                Portland, OR 97204
                                                  503.221.1440
                     Case 19-30223-tmb11               Doc 200             Filed 07/18/19
                      a.      A commission of 6% of the gross sale price to Compass

Commercial Real Estate Services consistent with the terms of the Order Authorizing

Employment entered on May 6, 2019 [ECF No. 136];

                      b.      additional closing costs to the extent such costs are usual and

customary for a transaction of the kind authorized by this Order; and

                      c.      all remaining proceeds to Sandton Credit Solution Master Fund III,

LP ("Sandton").

                5.    The foregoing distribution to Sandton is without prejudice to the right of

Debtor to recover from the proceeds of Sandton's collateral the reasonable, necessary costs and

expenses of preserving, or disposing of, such property pursuant to Section 506(c) of the

Bankruptcy Code, and such rights are preserved.

                6.    All stays, including, without limitation, those arising under Bankruptcy

Rule 6004, are inapplicable and this Order shall go into effect immediately upon its entry.

                                                  ###

I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP



By /s/ Michael W. Fletcher
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cc:    List of Interested Parties              000646/00045/10188838v1




Page 2 of 2 - ORDER AUTHORIZING SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,
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                                       LIST OF INTERESTED PARTIES
                                        In re Western Communications, Inc.
                                 U.S. Bankruptcy Court Case No. 19-30223-tmb11

                                             ECF PARTICIPANTS
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   US TRUSTEE, PORTLAND USTPRegion18.PL.ECF@usdoj.gov

                                          NON-ECF PARTICIPANTS
TOP 20 UNSECURED CREDITORS              Karnopp Petersen LLP                    Imaging Financial Services, Inc.
                                        350 SW Bond St., #400                   POB 35701
Advantage Newspaper Consultants         Bend, OR 97702                          Billings, MT 59107
501-B Executive Place
Fayetteville, NC 28305                  Newscycle Solutions Inc.                PROPERTY TAXES
                                        POB 851306
Bank of America                         Minneapolis, MN 55485-1306              Baker County Tax Collector
800 Fifth Ave.                                                                  1995 3rd St., #140
Seattle, WA 98104                       Oregon Web Press Inc.                   Baker City, OR 97814
                                        263 29th Ave., SW
Carter & Associates                     Albany, OR 97322                        Curry County Tax Collector
POB 21444                                                                       POB 1568
El Cajon, CA 92021                      Pacific Power Inc                       Medford, OR 97501
                                        POB 26000
Century Washington Center Inc           Portland, OR 97256                      Del Norte County Tax Collector
POB 700                                                                         981 H St., #150
Bend, OR 97709                          Page Cooperative Inc.                   Crescent City, CA 95531
                                        700 American Ave., #101
Davis Wright Tremaine LLP               King of Prussia, PA 19406               Deschutes County Tax Collector
c/o Joseph VanLeuven                                                            POB 7559
1300 SW Fifth Ave., #2400               Sacramento Bee                          1300 NW Wall St., #200
Portland, OR 97201                      c/o Paul J. Pascuzzi                    Bend, OR 97701
                                        Felderstein Fitzgerald
Eastman Kodak Company Inc.               Willoughby & Pascuzzi LLP              Tuolumne County Tax Collector
343 State St.                           400 Capitol Mall, #1750                 POB 3248
Rochester, NY 14650                     Sacramento, CA 95814                    Sonora, CA 95370-3248
First Interstate Bank                   Southern Lithoplate Inc.                Union County Assessor/Tax Collector
805 NW Bond St.                         POB 741887                              1001 4th St., Suites A & B
Bend, OR 97703                          Atlanta, GA 30374                       La Grande, OR 97850

Grove Mueller Swank PC                  Sun Chemical Inc                        Yazoo County Tax Collector
POB 2122                                POB 2193                                POB 108
Salem, OR 97308-2122                    Carol Stream, IL 60132-2193             Yazoo City, MS 39194
Harrigan Price Fronk & Co. LLP          United Way of Deschutes County          OTHER
2796 NW Clearwater Dr.                  POB 5969
Bend, OR 97703-7008                     Bend, OR 97708                          Andrews McMeel Universal
                                                                                Andrews McMeelsynd/
Homeland Fireworks Inc                  UCC PARTIES                              Universal Uclick
POB 7                                                                           POB 843345
Jamieson, OR 97097                      Hitachi Capital America Corp.           Kansas City, MO 64184-3345
                                        7808 Creekridge Circle, #250
Journal Graphics Inc                    Edina, MN 55439
2840 NW 35th Ave.
Portland, OR 97210




                             Case 19-30223-tmb11          Doc 200       Filed 07/18/19
